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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-8078-WM


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  KEVAN C. FUSCO,

        Defendant.
  ___________________________________/


    DEFENDANT'S INVOCATION OF RIGHT TO SILENCE AND COUNSEL

        The defendant, Kevan Fusco, through counsel, hereby invokes his rights to

  remain silent and to counsel with respect to any and all questioning or interrogation,

  regardless of the subject matter, including, but not limited to: matters that may bear

  on or relate to arrest, searches and seizures, bail, pretrial release or detention,

  evidence at trial, guilt or innocence, forfeitures; or that may be relevant to sentencing,

  enhanced punishments, factors applicable under the United States Sentencing

  Guidelines, restitution, immigration status or consequences resulting from arrest or

  conviction; appeals or other post-trial proceedings.

        The defendant requests that the United States Attorney ensure that this

  invocation of rights is honored, by forwarding a copy of it to all law enforcement

  agents, government officials, or employees associated with the investigation of any

  matters relating to the defendant. Any contact with the defendant must be made
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  through the defendant=s lawyer, undersigned counsel.

                                                Respectfully submitted,

                                                MICHAEL CARUSO
                                                FEDERAL PUBLIC DEFENDER

                                                By: s/M. Caroline McCrae
                                                Caroline McCrae
                                                Assistant Federal Public Defender
                                                Attorney for Defendant
                                                Florida Bar No. 72164
                                                450 South Australian Avenue
                                                Suite 500
                                                West Palm Beach, Florida 33401
                                                (561) 833-6288 - Telephone
                                                Caroline_mccrae@fd.org - Email


                            CERTIFICATE OF SERVICE

        I HEREBY certify that on March 11, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.



                                         s/M. Caroline McCrae
                                         M. Caroline McCrae
